Case 4:21-cv-00675 Document 1-4 Filed on 03/02/21 in TXSD Page 1 of 19




                       EXHIBIT A
           Case 4:21-cv-00675 Document 1-4 Filed on 03/02/21 in TXSD Page 2 of 19



       202106531, NARCISSE, JACKEE vs. BOTTLING GROUP LLC (D/B/A
                               PEPSICO)
                                     TX District & County - Harris (District Only)
                                                        Harris
                                      This case was retrieved on 03/0212021




Header
Case Number: 202106531
Date Filed: 02/02/2021
Date Full Case Retrieved: 03/02/2021
Status: Open
Misc: (43) DISCRIMINATION; Civil




Summary
Case Type: Civil
Judge: ELAINE H PALMER
Court Number: 215th




Participants
 Litigants                                                  Attorneys
 NARCISSE, JACKEE                                           MURPHY, MARJORIE A.
 PLAINTIFF - CIVIL                                          PLAINTIFF - CIVIL
                                                            Status: Active
 BOTTLING GROUP LLC (D/B/A PEPSICO)
 DEFENDANT - CIVIL
 PEPSICO
 DEFENDANT - CIVIL
 BOTTLING GROUP LLC (D/B/A PEPSICO)(A
 CORPORATION) MAY BE SERVED BY
 REGISTERED AGENT




Services

Type            Status Description           Instrument      Person Served                  Details
                                             Served
CITATION        SERVICE ISSUED/IN            ORIGINAL        BOTTLING GROUP LLC (D/B/A      Requested Date:

                                                     Carol Qualls               EXHIBIT A
            Case 4:21-cv-00675 Document 1-4 Filed on 03/02/21 in TXSD Page 3 of 19
                                                                                                         Page 2 of 2
                    202106531, NARCISSE, JACKEE vs. BOTTLING GROUP LLC (D/B/A PEPSICO)

Type                  Status Description            Instrument        Person Served                Details
                                                    Served
(CERTIFIED)           POSSESSION OF                 PETITION          PEPSICO)(A CORPORATION)      02/02/2021
                      SERVING AGENCY                                  MAY BE SERVED BY
                                                                                                   Issued Date:
                                                                                                   02/03/2021
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Proceedings

 Date             #                Proceeding Text                                Details
 02/02/2021                                                                       Attorney:
                                   ORIGINAL PETITION
                                                                                  MURPHY, MARJORIE A.
                                                                                  PersonFiling:
                                                                                  NARCISSE, JACKEE
 02/02/2021                                                                       Document Number:
                                   PLAINTIFFS ORIGINAL PETITION AND
                                                                                  94224737194224738
                                   REQUEST FOR DISCLOSURE
                                                                                  Pages:
                                                                                  10
 02/03/2021                                                                       Document Number:
                                   Certified Mail Tracking Number 7018 2290
                                                                                  94244080
                                   0001 3525 5149
                                                                                  Pages:
                                                                                  2
 02/03/2021                                                                       Document Number:
                                   Reference for Issuance of Service
                                                                                  94239937
                                                                                  Pages:
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 02/04/2021                                                                       Document Number:
                                   Certified Mail Receipt
                                                                                  94309778
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                                                              Carol Qualls
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                 202106531 - NARCISSE, JACKEE vs. BOTTLING GROUP LLC (D/B/A PEPSICO) (Court
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                215)                                                                                                                                     (non-financial)

             Summary                     Appeals         Cost Statements            Transfers            Post Trial Writs            Abstracts                  Parties
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           case that is not viewable electronically.) Only non-confidential civil/criminal documents are available
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                    STYLED Jackee Narcisse vs. Bottling Group, LLC clibitt PepsiCo
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    A civil case information sheet must be completed and submitted                                               In the Matter of :be Estate of George Jackson)
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    health case or when a post-judgment petition for modification or                                                                                              family law, probate, or mental
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   Name:                                         Email:                                                                                             ®Attorney for Plaintiff/Petitioner
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   Marjorie Murphy                                marjorie@themtnphylawpmetict.:.                                                                   • Title 1V-D Agency
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   Address:                                      Telephone:




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   Houston, TX 77042                                                                                    Bottling Group, LL.0 dib/a PepsiC
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 Foreclosure                                       [Medical                                                                                                                      [Paternity
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   °Other Foreclosure                                  Liability:                                  w x(17                                                                        0Support Order
 °Franchise                                                                                          • ' ,'tf;tuirsaf
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  Dlnsurance                                                                                                                                        .. .. .,,..
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 I Other Contract:                                [Other Product Liability               (2. Seizure/Forfeiture                          OName Change                                     °Child Support
                                                      List Product:                           Writ of Habeas Corpus--                     0 Protective Order
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                                                                                              Pre-indictment                             DRemoval of Disabilities                         °Gestational Parenting
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  Discrimination
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°Retaliation                                     OAntitru. ' GI                      • Perpetuate Testimony
I fermination                                      Comp no                           °Securities/Stock
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0Workers' Compensation                           I Co VI       ons                   °Tot-nous Interference
00ther Employment:                               0 For     udgrnen t                 °Other:
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 °Tax Appraisal                                                                                              Probate & Mental Health
                                                   obate/WillstIntestate Administration
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 OTax Delinquency                                                                                                                  Guardianship—Adult
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  DAppeal from Municipal or Justice Court                           °Declaratory Judgment
 °Arbitration-related                                                                                                          °Prejudgment Remedy
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 °Attachment                                                        0Interpleader
  IIII Bill of Review                                                                                                        °Receiver
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 [Certiorari                                                        I Mandamus
 • Class Action                                                                                                              [Temporary Restraining Orderilnjunction
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 ®Less than S100,000, including damages of any:. *):4*11         .0   ik,*16   . .. .. . .                          . . "'i' '.:,,',: ''.'.::.::.i•.:. ::..,,-... . .
                                                          kind, penalties, costs, expenses, prejudgment interest, and attorney
°Less than $100,000 and non-monetary relief                                                                                           fees
°Over $100, 000 but not mote than $200,000
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 ■ Over $1,000,000

                                                                                             EXHIBIT A-1                                                                                                  —Rev 2/13
    Case 4:21-cv-00675 Document 1-4 Filed on 03/02/21 in TXSD Page 7 of 19                                      2/2/2021 6:36 PM
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                                2021-06531 / Court: 215                                                         By: Cecilia Thayer
                                                                                                         Filed: 2/2/2021 6:36 PM

                                              CAUSE NO.

  JACKEE NARCISSE                                        §     IN THE DISTRICT COURT OF

       Plaintiff




                                                                                      k
  V.                                                     §     HARRIS COUNTY, TE




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                                                                                tC
  BOTTLING GROUP, LLC                                                             (pS




                                                                            ric
  d/b/a
  PEPSICO




                                                                         ist
                                                                      sD
    Defendant                                            §            JUD     AL DISTRICT




                                                                  es
        PLAINTIFF'S ORIGINAL PETITION AND REQ                             T FOR DISCLOSURE




                                                                rg
TO THE HONORABLE JUDGE OF THIS COURT.
                                                              Bu
        COMES NOW Plaintiff, Jackee Narcisse                    ereinafter, Plaintiff or "Ms. Narcisse")
                                                          n
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complaining of Defendant Bottling Group, LI                   /b/a PepsiCo (hereinafter, "Defendant" or
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"PepsiCo"), and in support of her causes                on would respectfully show the Court as follows:
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        1.         Discovery is int st   kr   to be conducted under Level 2 pursuant to Rule 190.3 of the
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Texas Rules of Civil Proce
                             op
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                                              II.
                               JURISDICTION, PARTIES AND VENUE
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        2.                  is proper in Harris County, Texas, pursuant to Section 15.02(a) (1), as all or
          of




substantial          f the events or omissions giving rise to this claim occurred in Harris County. Tex.
        Un




Civ. Prac. & Rem. Code § 15.002 (a) (2).

        3.         Plaintiff, Jackee Narcisse, is an individual who resides in Harris County, Texas.

        4.         Plaintiff, Jackee Narcisse, is an openly, gay woman and her employment with

Defendant was protected by the Texas Commission on Human Rights Act at all relevant times of


                                                EXHIBIT A-2
     Case 4:21-cv-00675 Document 1-4 Filed on 03/02/21 in TXSD Page 8 of 19




the allegations in this lawsuit. Ms. Narcisse was, at all relevant times, an employee within the

meaning of the applicable statutes.

        5.      Defendant Bottling Group, LLC d/b/a PepsiCo is a corporation doing business in

Harris County, Texas and can be served with process by delivering a true and corr           copy of this




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Original Petition by serving its registered agent of record: CT Corporation S              , 1999 Bryan




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Street, Ste. 900, Dallas, Texas 75201-3136.




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        6.      The Court has jurisdiction over this matter in accorrd            with the Texas Civil




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Practices and Remedies Code.




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                     VICARIOUS LIABILITY--RESPOND,                SUPERIOR
                                                            O


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        7.      Whenever in this pleading it is alleged tha  endant did any act or thing, or failed
                                                         Bu
to do any act or thing, it is meant that Defendan      officers, owners, servants, employees, or
                                                      n
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representatives and management did such act or     , or failed to do such act or thing, or that such
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act or thing or omission was done in the c‘    nd scope of that person's employment at PepsiCo,
                                          of




or in the furtherance of Defendant Pep'as interests, or with the full authorization, permission,
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tolerance, and/or ratification of De      ant, or was done by an authorized member of management of
                                O




Defendant or was done in the nAnal routine of the accepted, tolerated, or permitted conduct, customs,
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and/or practices of D              is officers, owners, servants, employees, management and/or
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representatives.
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        8.              onditions precedent to the filing of this lawsuit have occurred.
          of




                                      III.
        Un




                    EXHAUSTION OF ADMINSTRATITIVE REMEDIES

        9.      Ms. Narcisse filed an original Charge of Discrimination ("Charge") with the Texas

Workforce Commission (hereinafter "TWC") on or about October 19, 2020, wherein she averred

that Defendant engaged in discrimination against her because of her sex/gender and sexual
     Case 4:21-cv-00675 Document 1-4 Filed on 03/02/21 in TXSD Page 9 of 19




orientation by subjecting her to disparate treatment and allowing her male coworkers, at least one

of whom was known to incite violence, to berate her and call her a dike bitch and gay hoe, and to

threaten her life in front of management and other coworkers and that Defendant then terminated

her employment. The TWC assigned Ms. Narcisse's Charge thereto the No. 460-2T05549.




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        10.     The TWC issued Ms. Narcisse a Right-to-Sue letter on Decemb              2020, and she



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has timely filed suit.




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                                                IV.

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                                          NOTICE OF FACTS




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        11.     Ms. Narcisse is an openly gay female. She pref            wear masculine clothes, and
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she fully accepts her dominant nature.
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        12.     On October 1, 2018, Defendant hired       Bu    arcisse to work with PepsiCo as a full-
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time loader in Defendant's warehouse.
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        13.     During Ms. Narcisse's emplo             t at PepsiCo, Defendant kept daily performance
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logs, which indicated she was one of t %est performers in the warehouse. Accordingly, Ms.
                                           of
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Narcisse sought promotions with               dant in line with her qualifications but Defendant never
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considered her for promotion o           rooted her.
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        14.   Determined, iever, Ms. Narcisse just focused on performing her best in hopes
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that Defendant woulc , tually promote her. Ms. Narcisse's job was physically taxing. Heavy
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lifting was require         the job.
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        15.    6) pproximately October 2019, Ms. Narcisse was injured at work while lifting and
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was placed light duty. Although on light duty, Defendant regularly forced Ms. Narcisse to work

jobs that exceeded her physical abilities and medical limitations by requiring her to lift items

heavier than her medical restrictions allowed.
    Case 4:21-cv-00675 Document 1-4 Filed on 03/02/21 in TXSD Page 10 of 19




        16.         Although Ms. Narcisse complained directly to management that the work she was

required to do was outside of her medical restrictions, Defendant did not change her workload or

assignment. Further, Ms. Narcisse felt pressured to return to full-duty work because her coworkers

constantly told her that Defendant would get rid of her if she did not return to full tic ,work. Even




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manager Richard had "joked" with Ms. Narcisse about her losing her job.




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        17.         Worried about her job, Ms. Narcisse requested that her do        release her to full-




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duty work in approximately November 2019 although she did not fee tically ready to return




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to fulltime work.                                                       <,'
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        18.         In mid-November 2019, Ms. Narcisse's docteeleased her back to work with




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physical restrictions and Ms. Narcisse reported to work s          ir about November 15, 2019. While
                                                          Bu
there, however, Defendant's warehouse manager, NI             told Ms. Narcisse that she could not be at
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work with medical restrictions and that she was     ,,t   able to return to work until fully cleared from
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all restrictions.
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        19.         Based on Maria's inst       ons, Ms. Narcisse went out on medical leave from
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November 2019 to approximatel               ember 2019.
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        20.         Upon her doctor's release, Defendant reassigned Ms. Narcisse to her full-time
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loader position.
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        21.         At ar     this same time period, a male employee named Barrett repeatedly called
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Ms. Narcisse a         4itch. Despite this discriminatory slur, Defendant allowed Barrett to continue
          of




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to work wi           . Narcisse.
        Un




        22.         In February 2020, Ms. Narcisse re-injured her back on the job, and this time,

Defendant's doctor placed her on medical leave as her back injury was significant.
    Case 4:21-cv-00675 Document 1-4 Filed on 03/02/21 in TXSD Page 11 of 19




         23.   While on medical leave, in approximately June 2020 Ms. Narcisse's supervisor

Richard Medina texted her pressuring her to come back to full duty work. In fact, Mr. Medina also

had other workers such as Terrance also text Ms. Narcisse urging her to come back to work. A

coworker told Ms. Narcisse that Mr. Medina had said that if she returned to work More her back




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fully healed, there would be a claw position available upon her return to work N /.4_))
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         24.   Physically unable, Ms. Narcisse remained out on medical 1           On or about June




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11, 2020, Ms. Narcisse underwent surgery to reduce the tension on he




                                                                   ist
                                                                sD
         25.   In August of 2020, Mr. Medina spoke to Ms. Narcissc5 doctor and afterwards, Ms.




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Narcisse's doctor fully released her back to work. Ms. Nar        pe returned to work on or about




                                                          rg
August 24, 2020.
                                                      Bu
         26.  On her first day back, Narcisse was opting a forklift down an aisle when another
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employee, Josh, ran the pallet jack he was oper      into the end of Ms. Narcisse's forklift.
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      27.     Josh charged towards Ms.          se as if he was going to strike her. Supervisor John
                                       of




came down the aisle to see what was egg on. In the presence of Supervisor John and another
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coworker, Josh called Plaintiff N     Oe a dike bitch, a gay hoe and threatened to shoot her several
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times.
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         28.   Upon inf      t on and belief, this was not Josh's first time physically threatening a
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coworker while work       with Defendant.
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         29.          on Josh's aggression and hostility towards her, Ms. Narcisse was reasonably
           of




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scared for      fe. Even in front of Supervisor John, Josh continued to physically threaten Ms.
         Un




Narcisse's life and yell that he would shoot her dike ass. Ms. Narcisse endured these threats without

management intervention for at least 10 minutes. Eventually, Supervisor John walked Josh off

Defendant's premises, and told Ms. Narcisse, "I need to get this nig-er out of here."
    Case 4:21-cv-00675 Document 1-4 Filed on 03/02/21 in TXSD Page 12 of 19




        30.      The next day, Ms. Narcisse went to work only to see Richard, John and Josh in the

office talking and laughing. Ms. Narcisse immediately went to complain to warehouse manager

Clint, who had not witnessed the incident the day before. Ms. Narcisse told Clint she did not feel

comfortable working within Josh's presence and wanted to go home until it was scto return to




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work but Clint asked her to stay while he investigated her claims.




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        31.      Thirty minutes later, Clint came back to Ms. Narciss             nd suspended her
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employment pending further investigation while Josh, the male cower, who had called Ms.




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Narcisse a dike bitch, gay hoe and threatened to shoot her was
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                                                                 ' immediately suspended.

Defendant told Ms. Narcisse that they would contact her u re`•Vthe completion of Defendant's




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investigation.
                                                            Bu
                 For weeks Defendant did not reach ocKto Ms. Narcisse. In fact, Ms. Narcisse had
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        32.
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to call Defendant several times to get an update        )
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        33.      On or about September 11`,      ,   , Defendant PepsiCo terminated Ms. Narcisse's
                                          of




employment alleging that Ms. Narcis          golated Defendant's policy regarding anti-violence by
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threatening a fellow coworker bu            was completely false and Defendant's management knew
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it. In fact, Defendant's supervisor ohn witnessed the incident and knew that it was Josh, the male
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employee who made hand                discriminatory comments about Ms. Narcisse's sex and sexual
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orientation and threa        d to shoot her in front of other coworkers.
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        34.      O
                      '`1 forth above, Defendant has subjected Ms. Narcisse to disparate treatment by
          of




its harsh di         ne towards her and its failure to promote her in comparison to its male employees
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and/or its employees who are not openly gay. The facts herein demonstrate that Defendant's

adverse actions against Ms. Narcisse was based on her sex/gender and/or sexual orientation.
     Case 4:21-cv-00675 Document 1-4 Filed on 03/02/21 in TXSD Page 13 of 19




                                             V.
                                      CAUSES OF ACTION

A.     Gender Discrimination in Violation of the Texas Commission on Human Rights Act
       ("TCHRA")

       35.     Plaintiff repeats and re-alleges by reference each and every allegation % -itained in the




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paragraphs above and incorporates the same herein as though fully set forth.




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       36.     As herein alleged, Defendant illegally discriminated against subjected Plaintiff
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to disparate treatment because of her gender (female) and/or becaus            her sexual orientation.




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Specifically, Defendant illegally subjected Plaintiff to disparate tre     ent in the form of repeated




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but unwarranted failures to promote, harassment, harsh treat         , maltreatment, denied benefits,




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discipline and termination based in whole or part on her  er and/or her sexual orientation.
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        37.     Defendant had no legitimate businestasons for any of its acts of discrimination
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and harassment toward Plaintiff. Each act of ge          iscrimination and harassment is in violation
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of the TCHRA.
                                        of




       38.     As a direct and proximeesult of Defendant's willful, knowing and intentional
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discrimination against her, Plainti      suffered and will continue to suffer pain and suffering, and
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extreme and severe mental an          and emotional distress. Plaintiff is thereby entitled to general
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and compensatory dam            amounts that will be proven at trial.
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       39.           .(e.
               The a Nev. -described acts on Defendant's part were undertaken in violation of the
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TCHRA, and        move-described acts proximately caused Plaintiff substantial injuries and
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damages.e
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                                              VI.
                                         JURY DEMAND

       40.     Plaintiff requests that this action be heard before a jury and will pay the jury fee

as required by the Rules.
    Case 4:21-cv-00675 Document 1-4 Filed on 03/02/21 in TXSD Page 14 of 19




                                           VII.
                                  REQUEST FOR DISCLOSURE


        41.     Under Texas Rule of Civil Procedure 194, Plaintiff requests that Defendant disclose,

within 50 days of service of this request, the information or material described in RuN24.2.




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                                                  VIII.
                                                PRAYER
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       WHEREFORE, premises considered, Plaintiff prays that Defend °                 e cited to appear and




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answer herein, and that on final trial, Plaintiff have judgment against         ndant for:




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        a.      Permanent injunction enjoining Defendant, its a            s, successors, employees, and




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                those acting in consort with Defendant from            ging in any employment practice



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               which discriminates on the basis of sex/g   and/or sexual orientation;
       b.
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               All damages to which Plaintiff may be e'tied pursuant to this Original Petition, or
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                any amendment(s) thereto, induct'          ut not limited to back pay, reinstatement or
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                front pay in lieu of reinstateme t      s of earnings in the past, loss of earning capacity
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               in the future, loss of benefitk[      e past, loss of benefits in the future, statutory relief
                                        of




                at law, and equity;         0
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       c.      Compensatory dama .v :r pain and mental suffering in the past and future;
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       d.       Punitive damage          amount above the minimum jurisdictional limit of the Court;
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        e.      Reasonable att    ey's fees, with conditional awards in the event of appeal;
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        f.      Pre-judgme       terest at the highest rate permitted by law;
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       g.       Post-j d     nt interest from the judgment until paid at the highest rate permitted by
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       h.              of court and expert witness fees incurred by Plaintiff in the preparation and
          of




                  osecution of this action; and
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       i.      Such other and further relief, at law or in equity, to which Plaintiff may be entitled,
               whether by this Petition or by any amendment hereto.
Case 4:21-cv-00675 Document 1-4 Filed on 03/02/21 in TXSD Page 15 of 19




                                      Respectfully submitted,

                                      /s/ Marjorie A. Murphy

                                      Marjorie A. Murphy




                                                               k
                                      State Bar No. 24013218




                                                            ler
                                      2101 Citywest Blvd, Ste.




                                                         tC
                                      Houston, Texas 77042
                                      Telephone: (832) 56        4




                                                     ric
                                      Facsimile: (832)         41
                                      Email:marjorie        urphylawpractice.com




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                                      ATTORNEY F        AINTIFF,




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               Case 4:21-cv-00675 Document 1-4 Filed on 03/02/21 in TXSD Page 16 of 19


                                 7018 2290 0001 3525 5149
                                                       CAUSE NO.        202106531

                                                        RECEIPT NO.         890527                      75.00          CTM
                                                                   **********
                                                                                                         TR # 73837602

PLAINTIFF: NARCISSE, JACKEE                                                                  In The   215th
               vs.                                                                           Judicial District Court
DEFENDANT: BOTTLING GROUP LLC (D/B/A PEPSICO)                                                of Harris County, Texas
                                                                                             215TH DISTRICT COURT
                                                                                             Houston, TX
                                                     CITATION (CERTIFIED)
THE STATE OF TEXAS
County of Harris



TO: BOTTLING GROUP LLC (D/B/A PEPSICO) (A CORPORATION) MAY BE SERVED BY
    SERVING ITS REGISTERED AGENT CT CORPORATION SYSTEM




                                                                                                  k
                                                                                              ler
      1999      BRYAN STREET STE 900            DALLAS       TX    75201 - 3136
      Attach         is a copy of PLAINTIFF'S ORIGINAL PETITION AND REQUES                         DISCLOSURE




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                                                                                          ric
This instrument as filed on the 2nd day of February, 2021, in                                 above cited cause number
and court. The i trument attached describes the claim against




                                                                                      ist
     YOU HAVE BEEN   ED, You may employ an attorney. If you      our attorney do not file a
written answer with t                                                              sD
                        District Clerk who issued this citat n by 10:00 a.m on the Monday
next following the expi ation of 20 days after you were se • d this citation and petition,
a default judgment may b. taken against you. In addition     filing a written answer with the
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clerk, you may be require to make initial disclosures t     he other parties of this suit. These
disclosures generally must    made no later than 30 da   .fter you file your answer with the
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clerk. Find out more at Texa awHelp.org.
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TO OFFICER SERVING:
      This citation was issued                   3rd day of Februa                2021, under my hand and
seal of said Court.
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                                                         O                GI       MARILYN BURGESS, District Clerk
Issued at request of:
MURPHY, MARJORIE A.                                                                Harris County, Texas
                                                                                   201 Caroline, Houston, Texas 77002
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2101 CITYWEST BLVD., STE.100
HOUSTON, TX 77042                                                                  (P.O. Box 4651, Houston, Texas 77210)
Tel: (832) 564-3804
                                                  ffic




Bar No.: 24013218                                                               aerated By: THAYER, CECILIA     MUK//11679638
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mailing to Defendant certified     , return receipt requested restricted delivery, a true
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 PLAINTIFF'S ORIGINAL PETITION D REQUEST FOR DISCLOSURE
to the following addressee ktiaddress:
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                                                                  Service was executed in accor   ce with Rule 106
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(a)ADDRESSEE                                                         (2) TRCP, upon the Defendant   evidenced by the
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                                                                  This citation was not executed for the follo ing
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                                                                  MARILYN BURGESS, District Clerk
                                                                  Harris County, TEXAS

                                                                  By                                             , Deputy




                           RECORDER'S MEMORANDUM-
N.INT.CITM.P               This instrument is of poor qusifty                *73837602*         EXHIBIT A-3
                                 at the time of irrragh2
               Case 4:21-cv-00675 Document 1-4 Filed on 03/02/21 in TXSD Page 17 of 19


                             7018 2290 0001 3525 5149
                                             CAUSE NO.         202106531

                                             RECEIPT NO.          890527                       75.00          CTM
                                                        **********
                                                                                               TR # 73837602

PLAINTIFF: NARCISSE, JACKEE                                                          In The   215th
        vs.                                                                          Judicial District Court
DEFENDANT: BOTTLING GROUP LLC (D/B/A PEPSICO)                                        of Harris County, Texas
                                                                                     215TH DISTRICT COURT
                                                                                     Houston, TX
                                           CITATION (CERTIFIED)
THE STATE OF TEXAS
County of Harris



TO: BOTTLING GROUP LLC (D/B/A PEPSICO) (A CORPORATION) MAY BE SERVED BY
    SERVING ITS REGISTERED AGENT CT CORPORATION SYSTEM




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      1999      BRYAN STREET STE 900    DALLAS    TX    75201 - 3136
      Attached is a copy of PLAINTIFF'S ORIGINAL PETITION AND REQUES                       DISCLOSURE




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                                                                                  ric
This instrument was filed on the 2nd day of February, 2021, in                        above cited cause number
and court. The instrument attached describes the claim against




                                                                              ist
     YOU HAVE BEEN SUED, You may employ an attorney. If you     our attorney do not file a
written answer with the District Clerk who issued this cita                 sD
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next following the expiration of 20 days after you were seed this citation and petition,
a default judgment may be taken against you. In addition    filing a written answer with the
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clerk, you may be required to make initial disclosures    he other parties of this suit. These
disclosures generally must be made no later than 30 da    fter you file your answer with the
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clerk. Find out more at TexasLawHelp.org.
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TO OFFICER SERVING:
      This citation was issued on 3rd day of Febru                      , 2021, under my hand and
seal of said Court.
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Issued at request of:                                                      MARILYN BURGESS, District Clerk
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MURPHY, MARJORIE A.                                                        Harris County, Texas
                                                                           201 Caroline, Houston, Texas 77002
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2101 CITYWEST BLVD., STE.100
HOUSTON, TX 77042                                                          (P.O. Box 4651, Houston, Texas 77210)
Tel: (832) 564-3804
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Bar No.: 24013218                                                Generated By: THAYER, CECILIA         MUK//11679638
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                                             RK'S RETURN BY MAILING

Came to hand the          day of                                        , and executed by
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mailing to Defendant certified Aft, return receipt requested, restricted delivery, a true
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to the following addressee 8t,address:
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(a)ADDRESSEE                                              (2) TRCP, upon the Defendant as evidenced by the
                                                           return receipt incorporated herein and attached
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                                                       on        day of
                                                       by U.S. Postal delivery to


                                                       This citation was not executed for the following
                                                       reason:


                                                       MARILYN BURGESS, District Clerk
                                                       Harris County, TEXAS

                                                       By                                               , Deputy




N.INT,CITM.P                                                          *73837602*
             Case 4:21-cv-00675 Document 1-4 Filed on 03/02/21 in TXSD Page 18 of 19                                               2/3/2021 3:08 PM

                            Marilyn Burgess                                                            Marilyn Burgess - District Clerk Harris County
                                                                                                                            Envelope No. 50325993
                                                                                                                    By: Cynthia Clausell-McGowan
                                                                                                                            Filed: 2/3/2021 3:08 PM
                            HARRIS COUNTY DISTRICT CLERK
                            201 Caroline | P.O. Box 4651 | Houston, Texas 77210-4651 | 832-927-5800 | www.hcdistrictclerk.com


                                                 Request for Issuance of Service
CASE NUMBER: _______________________________                    CURRENT COURT: ___________________________________________

Name(s) of Documents to be served:   Original Petition ____________________________________________________________________

FILE DATE: _02/02/21_____________________ Month/Day/Year




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SERVICE TO BE ISSUED ON (Please List Exactly As The Name Appears In The Pleading To Be




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Served):
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Address of Service: 1999 Bryan Street, Ste. 900 __________________________________________________




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City, State & Zip:________ Dallas, Texas 75201-3136.___________________________________
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Agent (if applicable) ________ CT Corporation System __________________________________________




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TYPE OF SERVICE/PROCESS TO BE ISSUED: (Check the proper Box)



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(See additional Forms for Post Judgment Service)
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   ATTORNEY PICK-UP (phone) __________________               E-Issuance by District Clerk
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X CERTIFIED MAIL by District Clerk        used to retrieve the E-Issuance Service Documents.
                                            Visit www.hcdistrictclerk.com for more instructions.

    CIVIL PROCESS SERVER - Authorized Person to Pick-up: ________________                                       Phone: __________

     OTHER, explain ______________________________________________________________________

Issuance of Service Requested By: Attorney/Party Name: Marjorie A. Murphy__Bar # or ID 24013218
Mailing Address:_2101 Citywest Blvd., Ste. 100, Houston, Texas 77042_______
Phone Number:___832-564-3804________                                        EXHIBIT A-4
Case 4:21-cv-00675 Document 1-4 Filed on 03/02/21 in TXSD Page 19 of 19




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                                                    EXHIBIT A-5
